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                                   7                                UNITED STATES DISTRICT COURT
                                   8                           NORTHERN DISTRICT OF CALIFORNIA
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                                  10     WAYNE ELIJAH JONES,                            Case No. 24-cv-03721 NC (PR)
                                  11                   Plaintiff,
                                                                                        ORDER OF TRANSFER
                                  12             v.
Northern District of California
 United States District Court




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                                         RICHARD J. DONOVAN
                                  14     CORRECTIONAL FACILITY
                                         PROGRAM OFFICE, et al.,
                                  15
                                                        Defendants.
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                                  18          Plaintiff, a state prisoner at the Richard S. Donovan Correctional Facility (“RSD”)
                                  19   in San Diego, California, filed a pro se civil rights complaint under 42 U.S.C. § 1983,
                                  20   against RSD staff for unconstitutional acts. Dkt. No. 1. Because the acts complained of
                                  21   occurred in Kings County, which lies within the venue of the Eastern District of California,
                                  22   see 28 U.S.C. § 84(b), venue properly lies in that district and not in this one. See 28
                                  23   U.S.C. § 1391(b).
                                  24          Accordingly, this case is TRANSFERRED to the United States District Court for
                                  25   the Eastern District of California. See 28 U.S.C. § 1406(a).
                                  26          The Clerk shall terminate all pending motions and transfer the entire file to the
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                                             Case 5:24-cv-03721-NC Document 4 Filed 06/24/24 Page 2 of 2




                                   1   Eastern District of California.
                                   2            IT IS SO ORDERED.
                                   3   DATED:           June 24, 2024
                                                                                   NATHANAEL M. COUSINS
                                   4                                               United States Magistrate Judge
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Northern District of California
 United States District Court




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                                       Order of Transfer
                                  25   PRO-SE\NC\CR 2024\03721Jones_transfer(ED)


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